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   In The United States Court of Federal Claims
                                        No. 04-1366C

                                   (Filed: March 12, 2010)
                                         __________
SPECTRUM SCIENCES & SOFTWARE, INC.,

                           Plaintiff,

     v.

THE UNITED STATES,

                           Defendant.
                                         _________

                                           ORDER
                                         __________
    As discussed at the close of trial, post-trial briefing is hereby ordered as follows:

    1.     On or before April 26, 2010, the parties shall simultaneously file post-trial
           briefs not to exceed 50 pages.

    2.     On or before May 26, 2010, the parties shall simultaneously file replies to
           the initial post-trial briefs not to exceed 25 pages.

    3.     The court will contact the parties telephonically to arrange a date for
           closing argument, should such argument be necessary.

    IT IS SO ORDERED.


                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
